FILED
U.S. DIST COURT

IN THE UNITED STATES DISTRICT 'GOURET. OF LA

FOR THE MIDDLE DISTRICT OF LOUISIANA
100) FEB 28 P & 2b

NONA KARPINSKI *
* SIGH _ ap
PLAINTIFF * BY DEFUTY CLES
VS. * CIVIL ACTION NO.
*
ENCORE RECEIVABLE * COMPLAINT AND
MANAGEMENT, INC. * DEMAND FOR A JURY TRIAL
* .
DEFENDANT * Obcv |b -FOP- PED
COMPLAINT
I. Introduction
1. This is an action for damages brought by an individual consumer for

defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S:C. § 1692, et seq.
(hereinafter "FDCPA"), which prohibits debt collectors from engaging in abusive, deceptive, and
unfair practices, and to insure that those debt collectors who refrain from using abusive debt
collection practices are not competitively disadvantaged.
II. JURISDICTION

2. Jurisdiction of this court arises under 15 U.S.C. § 1692k, 28 U.S.C. §§ 1331

and 1337.
II. PARTIES

3. Plaintiff, Nona Karpinski, is a natural person who resides in Livingston Parish,
Louisiana, and is a "consumer" as defined by 15 U.S.C. § 1692a(3).

4. Defendant, Encore Receivable Management, Inc. (hereinafter referred to as
“Encore” or “defendant”) is a foreign corporation, whose principal office is located at 400 N. Rogers

Road, Olathe, Kansas 66062, and whose registered agent for service of process in Louisiana is Lexis

ured Usd

 
Document Services, Inc., 320 Somerulos Street, Baton Rouge, Louisiana 70802-6129. Encore, at
all times relevant hereto, regularly attempted to collect debts alleged to be due another and is a "debt
collector" as defined under the FDCPA.

IV. FACTUAL ALLEGATIONS

5. On or about July 11, 2005, defendant Encore’s employee Shawn Rigg called
Ms. Karpinski’s son-in-law, Lane Wilson, about a debt Ms. Karpinski allegedly owed to on a Sears
account in the amount of approximately $2900.00.

6. This debt arose from the use of a credit card which was used primarily for
personal, family, or household purposes.

7. Ms. Karpinski does not live with her daughter and son-in-law, Lane Wilson.

8. Shawn Rigg told lane Wilson that this was a “legal matter.”

9. Ms. Karpinski was then told about this call by her daughter, Karynn Wilson,
and she then called Encore directly and was connected with Shawn Rigg.

10. Ms. Karpinski asked whether Encore was going to send her a letter and she
was told that “Alegis” had mailed her a letter on May 27, 2005, to which Ms. Karpinski informed
Encore that she had not received any letters.

11. Ms. Karpinski also explained that she disputed this debt because she had
purchased the items on a one year interest free account but a mistake had been made by Sears.

12. Onorabout July 14, 2005, Shawn Rigg called and spoke with Ms. Karpinski’s
daughter, Karynn Wilson.

13. After learning of this call to her daughter, Ms. Karpinski called back to Encore

on July 14, 2005, and she was advised that her account was going for “legal review” by John
Hernandez, an employee of Encore.

14. Ms. Karpinski then spoke with John Hernandez’ supervisor, Patrick Ruble,
who informed her the police would serve her with papers at work and that she would then be
suspended from her job at BellSouth.

1 5, Encore’s employees then called and spoke with Karynn Wilson again on July
19, 2005.

16. | Because she feared that she might lose her job over this alleged debt, Ms.
Karpinski spoke with her supervisor at BellSouth, who assured her she would not be suspended from
her job if she was served with papers at work by the police.

17. On July 27, 2005, Ms. Karpinski spoke with employees of Encore again.

18. During this telephone conversation, it was explained to her that the papers
she would be served with by the police, if she were sued, were “to appear in court.”

19. Patrick Ruble, an employee of Encore, also told Ms. Karpinski that if she was
served with papers by the police at work, that “Bell will probably dismiss you.”

20. Defendant Encore’s use of intimidation and improper third party contacts has
damaged plaintiffs relationship with her daughter.

DEFENDANT'S PRACTICES

21. Defendant Encore violated numerous provisions of the FDCPA including but
not limited to sections 1692b, 1692c, 1692e and 1692f.

22. — Plaintiffhas suffered actual damages and injury, including, but not limited to,
stress, humiliation, anxiety, extreme mental anguish and suffering, emotional distress, for which she

should be compensated in an amount to be proven at trial.
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WHEREFORE, plaintiff respectfully requests that the Court grant the following relief
in her favor and against Defendant Encore Receivable Management, Inc. for:
a. Additional damages;

b. Actual damages;

c. Attorney fees, litigation expenses and costs; and
d. Such other and further relief as is appropriate.
A JURY TRIAL IS DEMANDED.

BY ATTORNEY:

Sect f- Rah

GARTH J. RIDGE

Bar Roll Number 20589

251 Florida Street, Suite 301

Baton Rouge, Louisiana 70801
Telephone Number: (225) 343-0700
Facsimile Number: (225) 343-7700
E-Mail: GarthRidge@aol.com
@JS 44 (Rev. 3/99)

use of the Clerk o

I. (a) PLAINTIFFS

KARPINSKI, Nona

Fi Court for the purpose of initiating the civil

CIVIL COVER SHEET

The JS-44 civil cover sheet and the information contained herein neither replace nor sup lement the filing and service of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the

(b) County of Residence of First Listed Plaintiff Livingston

(EXCEPT IN U.S. PLAINTIFF CASES)

County of Residence of First Listed

ocket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)
DEFENDANTS

Encore Receivable Management, Inc.

(IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED

 

(c) Attomey’s (Firm Name, Address, and Telephone Number)

Garth J. Ridge
Attomey at Law

251 Florida Street, Suite 301
Baton Rouge, Louisiana 70801
Telephone Number: 225-343-0700 Facsimile Number: 225-343-7700

 

Attorneys (If Known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

II. BASIS OF JURISDICTION © @lace an “xX” in One Box Only) IN. CITIZENSHIP OF PRINCIPAL PARTIES Place an “x” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
DEF DEF
O 1 US. Government X 3 Federal Question Citizen of This State O01 1 _Incorporatedor Principal Place O 4 014
Plaintiff (U.S. Government Not a Party) of Business In This State
O 2 U.S. Government 0 4 Diversity Citizen of Another State 0 2 012  Incorporatedand Principal PlaeeO 5 15
Defendant (Indicate Citizenship of Parties of Business In Another State
in Item IID)
Citizen or Subjectofa O 3 03 Foreign Nation O06 O86
Foreign Country
IV. NATURE OF SUIT __(Place an “X” in One Box Only)
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
O 110 Insurance PERSONAL INJURY PERSONAL INJURY |0 610 Agnculture 1 422 Appeal 28 USC 158 1) 400 State Reapportionment
O 120 Marine O 310 Airplane O 362 Personal Injury— O 620 Other Food & Drug O 410 Antitrust
) 130 Miller Act O 315 Airplane Product Med. Malpractice O 625 Drug Related Seizure |) 423 Withdrawal © 430 Banks and Banking
D 140 Negotiable Instrument Liability O 365 Personal Injury — of Property 21 USC 28 USC 157 (1 450 Commerce/ICC Rates/etc.
O 150 Recovery of Overpayment] 320 Assault, Libel & Product Liability O 630 Liquor Laws O 460 Deportation
& Enforcement of| Slander O 368 Asbestos Personal D 640RR & Truck PROPERTY RIGHTS | 470 Racketeer Influenced and
O Judemeatcare Act O 330 Federal Employers’ Injury Product O 650 Airline Regs O 820Co hts Corrupt Organizations
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Student Loans O 340 Marine PERSONAL PROPERTY Safety/Health C1 840 Trademark O 850 Securities/Commodities/
(Excl. Veterans) O 345 Marine Product O 370 Other Fraud QO 690 Other Exchange
O 153 Recovery of Overpayment Lrability O 371 Truth in Lending O 875 Customer Challenge
of Veteran’s Benefits |( 350 Motor Vehicle C380 Other Personal LABOR SOCIAL SECURITY 12 USC 3410
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O) 190 Other Contract Product Liability [1 385 Property Damage [1110 Fait Labor Standards | #6) Bleek Lame (923) £) 892 Economic Stabilization Act
O 195 Contract Product Liability ]0 360 Other Personal Injury Product Liability 1 720 Labor/Memt Relations| CX) 863 DIWC/DIWW (405(g)) 4 ea Environmental Matlers
REAL PROPERTY CIVIL RIGHTS _| PRISONER PETITIONS _ | O 864 SSID Title XVI O 895 Freedom of
0 730 Labor/Mgmt.Reporting] I 865 RSI (405(g)) Information Act
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O 220 Foreclosure O 442 Employment Sentence O 740 Railway Labor Act FEDERAL TAX SUITS Detegainat pe al 9 ee
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J tp :,: | 870 Taxes (US Plaintiff Justice
0 240 Torts to Land Accommodations | 530 General 0 790 Other Labor Litigation or Defendant) 1 950 Constitutionality of
O 245 Tort Product Liability O 444 Welfare DD 535 Death Penalty
C1 290 All Other Real Property [0 440 Other Civil Ru O 540 Mandamus & Other {2 791 Empl. Ret. In State Stanutes
er Civil Raghts andamus er mpl. Ret. inc O 871 IRS—Third Party X 890 Other Statutory Actions
O 550 Civil Rights Security Act 26 USC 7609
0 555 Prison Condition
PLACE AN “X” IN ONE BOX ONLY Appeal to
V. ORIGIN ( ) Transferred from District
another district Judge from
X 1 Original O 2 Removed from O 3  Remanded from O 4 Reinstatedor 15 (specify) O16 Multdistrict O 7 Magistrate
Proceeding State Court Appellate Court Reopened Litigation Judgment

 

VI. CAUSE OF ACTION ‘

Violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq

Cite the U S. Civil Statute under which:you are filmg and write brief statement of cause.
Do not cite jurisdictional statutes unless diversity.)

 

VII. REQUESTED IN

O CHECK IF THIS IS ACLASS ACTION

DEMAND $

CHECK YES only if demanded in complaint:

 

 

 

 

COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: X Yes ONo
(See
VII. RELATED CASE(S) ‘istctions):
IF ANY JUDGE DOCKET NUMBER

DATE . SIGNATURE OF ATTO Y OF CORD

February 28,9006 Set I
FOR OFFICE USE ONLY — Y og

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RECEIPT # 0 GQOe | > b APPLYING IFP JUDGE MAG. JUDGE
